     Case 1:21-cv-00224-JAR Document 21       Filed 11/19/21   Page 1 of 16




UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE: HON. JANE A. RESTANI, JUDGE

                                          :
FD SALES COMPANY LLC                      :
                                          :
                       Plaintiff,         :       Court No. 21-00224
                                          :
                 v.                       :
                                          :
UNITED STATES,                            :
                                          :
                       Defendant.         :
                                          :


    DEFENDANT’S REPLY MEMORANDUM IN FURTHER SUPPORT OF ITS
                       MOTION TO DISMISS
       Case 1:21-cv-00224-JAR Document 21                                 Filed 11/19/21             Page 2 of 16




                                             TABLE OF CONTENTS

ARGUMENT....................................................................................................................... 2

I.        The Court Lacks Jurisdiction Over FD Sales’s Untimely Summons ...................... 2

II.       The Court Lacks Jurisdiction Over Claims Not Asserted In FD Sales’s Protest .... 5

III.      The Court Lacks Jurisdiction Over Entries Withdrawn From FD Sales’s Protest .. 8

CONCLUSION ................................................................................................................. 11
      Case 1:21-cv-00224-JAR Document 21                                    Filed 11/19/21             Page 3 of 16




                                           TABLE OF AUTHORITIES


Cases

Ataka America, Inc. v. United States,
  17 CIT 598, 826 F. Supp. 495 (1993) .............................................................................. 8

AutoAlliance International, Inc. v. United States,
 26 CIT 1316 (2002), aff'd, 357 F.3d 1290 (Fed. Cir. 2004)............................................. 3

Dart Export Corporation v. United States,
 43 CCPA 64, C.A.D. 610 (1956), cert. denied, 352 U.S. 824 (1956) .............................. 8

Dow Chemical Co. v. United States,
 10 CIT 550, 647 F. Supp. 1574 (1986) ............................................................................ 8

Farrell Lines, Inc. v. United States,
 667 F.2d 1017 (CCPA 1982)............................................................................................ 7

Sanyo Elec., Inc. v. United States,
  81 Cust. Ct. 114 (1978) .................................................................................................... 3

Travenol Laboratories, Inc. v. United States,
  118 F.3d 749 (Fed. Cir. 1997) .......................................................................................... 7

Trs. Of Leland Stanford Junior University v. United States,
  948 F. Supp. 1072 (CIT 1996) ......................................................................................... 3


Harmonized Tariff Schedule of the United States

Heading 3918.10.10 ................................................................................................. 4, 5, 6, 7
Heading 3918.10.1000 ........................................................................................................ 5
Heading 3918.10.20 ..................................................................................................... 6, 7, 8
Heading 3918.10.2000 ........................................................................................................ 5
Heading 9903.88.34 ............................................................................................................. 4


Statutes

19 U.S.C. § 1514 ................................................................................................................. 8

19 U.S.C. § 1514(a) ......................................................................................................... 3, 7

28 U.S.C. § 1581(a) .................................................................................................... passim


                                                                ii
      Case 1:21-cv-00224-JAR Document 21                                 Filed 11/19/21             Page 4 of 16




28 U.S.C. § 2636(a)(1) ................................................................................................ 2, 3, 4

Section 515 of the Tariff Act of 1930.................................................................................. 2

Section 301 of the Trade Act of 1974......................................................................... passim



Regulations

National Customs Automation Program (NCAP) Test Concerning Electronic Filing of
 Protests in the Automated Commercial Environment (ACE),
 81 Fed. Reg. 53498, 53500 (Aug. 12, 2016). ................................................................... 2


Other Authorities

Post Summary Corrections,
 https://www.cbp.gov/trade/programs-administration/entry-summary/
 post-summary-correction .................................................................................................. 7




                                                              iii
    Case 1:21-cv-00224-JAR Document 21                Filed 11/19/21      Page 5 of 16




UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE: HON. JANE A. RESTANI, JUDGE

                                                        :
FD SALES COMPANY LLC                                    :
                                                        :
                                Plaintiff,              :       Court No. 21-00224
                                                        :
                        v.                              :
                                                        :
UNITED STATES,                                          :
                                                        :
                                Defendant.              :
                                                        :


  DEFENDANT’S REPLY MEMORANDUM IN FURTHER SUPPORT OF ITS
                     MOTION TO DISMISS

       Defendant, United States (the Government), submits this reply memorandum in

support of its motion, pursuant to Rule 12(b)(1) of the Rules of the United States Court of

International Trade, to dismiss this action for lack of subject matter jurisdiction.

       Plaintiff, FD Sales Company LLC (FD Sales), seeks to invoke the jurisdiction of

this Court under 28 U.S.C. § 1581(a) challenging the denial of a protest. Because FD

Sales’s protest was approved in full, and FD Sales filed this case beyond the statutory

timeframe, this action must be dismissed for lack of subject matter jurisdiction.

       Our opening brief set forth a discussion concerning Section 301 duties assessed

pursuant to section 301 of the Trade Act of 1974 and the general facts of this case.

Below we provide the following additional relevant information in response to the

allegations made in FD Sales’s response brief. Pl.’s Mem. in Opposition to Def’s Mot.

To Dismiss (ECF no. 18).
     Case 1:21-cv-00224-JAR Document 21               Filed 11/19/21     Page 6 of 16




                                      ARGUMENT

I.     The Court Lacks Jurisdiction Over FD Sales’s Untimely Summons

       FD Sales claims jurisdiction under 28 U.S.C. § 1581(a), see Compl. ¶ 4, which

grants the Court exclusive jurisdiction over “any civil action commenced to contest the

denial of a protest, in whole or in part, under section 515 of the Tariff Act of 1930.” 28

U.S.C. § 1581(a). For this Court to have jurisdiction under 28 U.S.C. § 1581(a), a civil

action contesting “the denial of a protest, in whole or in part” must be commenced within

180 days after the date of mailing of the notice of the protest denial. 28 U.S.C.

§ 2636(a)(1). FD Sales’s claim must be rejected because its protest was approved and,

even if the protest could be considered denied in part, which it was not, it is undisputed

that FD Sales filed its summons in this case more than 180 days after the date of the

decision.

       For protests filed in the U.S. Customs and Border Protection (Customs or CBP)

Automated Commercial Environment (ACE), notification of a decision on the protest is

sent to the protestant electronically in ACE. See 81 Fed. Reg. 53,498, 53,500 (Aug. 12,

2016). FD Sales does not dispute that it received notice of the approval of its protest on

November 3, 2020. Rather, it argues that such notice did not trigger the 180-day period

for filing of the summons in this Court. FD Sales is wrong.

       Despite the fact that CBP approved FD Sales’s protest on November 3, 2020, FD

Sales asserts that its “Protest was effectively denied when CBP failed to remit all of the

refund payments due to Plaintiff and ‘approved’ by CBP.” Pl.’s Mem. at 3. FD Sales

claims that “utilization of the November 3 ‘approval’ of the Protest to calculate the

timeliness of filing this action would be inappropriate” because “[t]he first non-

conforming refund payment was received on November 30, 2020.” Id. at 4. FD Sales


                                             2
    Case 1:21-cv-00224-JAR Document 21               Filed 11/19/21      Page 7 of 16




goes on to argue that its summons was timely filed because, it says, the 180-day statutory

period began to run on November 30, 2020, the date “when the first of the allegedly

‘approved’ Protest refunds were partially paid,” rather than November 3, 2020, the

undisputed date that CBP sent notice of the approval of the protest. Id.

       FD Sales’s argument is contrary to the clear and unambiguous statutory terms,

which provide that an action commenced under 28 U.S.C. § 1581(a) can challenge a

protest that was denied, in whole or in part, and only if it is commenced within 180 days

of the date of the issuance of the notice of denial. 28 U.S.C. § 2636(a)(1), 19 U.S.C.

§ 1514(a), and 28 U.S.C. § 1581(a). Here, FD Sales failed to meet either requirement.

For the reasons explained in detail in our moving papers and below, the subject protest

was approved by CBP in full, and the summons was filed more than 180 days following

CBP’s decision on the protest.

       The protest covered by this court action was approved by CBP in full because

CBP granted all the claims made by FD Sales in its protest in their entirety. It is well

established that “Customs’ response on the protest form is not dispositive and ‘[t]he court

must look to what Customs actually did.’” AutoAlliance International, Inc. v. United

States, 240 F. Supp. 2d 1315, 1323 (quoting Trs. Of Leland Stanford Junior University v.

United States, 948 F. Supp. 1072, 1074 (CIT 1996)). The court must analyze “the extent

to which the protest has resulted in a change of the protested decision.” Sanyo Elec., Inc.

v. United States, 81 Cust. Ct. 114, 115 (1978). “If any part of the protested decision

remains in effect, then the protest has been denied in part.” AutoAlliance, 240 F. Supp.

2d at 1326.




                                             3
    Case 1:21-cv-00224-JAR Document 21                Filed 11/19/21     Page 8 of 16




       Here, no part of FD Sales’s protested decision remains in effect. The decision

protested by FD Sales was the assessment of Section 301 duties on clicking/locking vinyl

flooring classified by CBP at liquidation under subheading 3918.10.10, of the

Harmonized Tariff Schedule of the United States (HTSUS). FD Sales claimed in its

protest that the merchandise was subject to a Section 301 exclusion granted by the Office

of the United States Trade Representative (USTR) under subheading 9903.88.34,

HTSUS. CBP agreed with FD Sales, approved the protest, applied the exclusion, and

refunded the Section 301 duties paid by FD Sales on all the merchandise classified at

liquidation under subheading 3918.10.10, HTSUS. Therefore, FD Sales’s protest

“resulted in a change of the protested decision” in its entirety, and consequently, was

approved in full.

       Even if the Court were to accept FD Sales’s claim that it became aware of an

alleged partial denial of its protest when it first received allegedly “incomplete” refunds

on November 30, 2020, which the Court should not accept, that date is irrelevant for

purposes of the timeliness of the filing of FD Sales’s summons. Before notices of

decisions on protests were sent electronically via ACE, those notices were sent to

protestants by regular mail. Pursuant to 28 U.S.C. § 2636(a)(1), the date that triggered

the commencement of the 180-day period for filing of the summons was the date of

mailing of the notice of denial, not the date when the protestant opened its mail and

became aware of the denial. Similarly, to the extent that FD Sales here argues that its

protest was partially denied, its time to file the summons challenging the alleged partial

denial began to run from the date of CBP’s decision, not from the date when FD Sales

decided it was unsatisfied with the scope of the relief. In any event, FD Sales had ample




                                              4
      Case 1:21-cv-00224-JAR Document 21              Filed 11/19/21      Page 9 of 16




opportunity to file a timely summons within 180 days of November 3, 2020, the date

CBP notified FD Sales of the decision on its protest. Specifically, FD Sales had more

than five months from the date on which it claims to have discovered that its protest was

allegedly denied in part to file a timely summons.

        For these reasons, the Court lacks jurisdiction over this court action under 28

U.S.C. § 1581(a).

II.     The Court Lacks Jurisdiction Over Claims Not Asserted In FD Sales’s
        Protest

        Even if the Court were to find that it possesses subject matter jurisdiction over FD

Sales’s approved protest, despite the untimely filed summons, which it should not, the

Court lacks jurisdiction under 28 U.S.C. § 1581(a) over claims not asserted by FD Sales

in its protest. CBP granted FD Sales’s protest claim in full when it issued the refunds of

Section 301 duties on all the merchandise classified under subheading 3918.10.10,

HTSUS. In fact, “Plaintiff readily acknowledges that merchandise classified under

subheading 3918.10.10 was the only merchandise subject to the Protest.” Pl.’s Mem.

at 5. This concession is fatal to FD Sales’s case.

        Nevertheless, FD Sales argues that “many of these subject entry lines were

initially misclassified under 3918.10.2000 (vinyl flooring in rolls), and were subsequently

corrected via post-summary correction (‘PSC’) to reflect the correct classification of

3918.10.1000 (vinyl flooring in tiles or planks).” Id. FD Sales contends that “the PSCs

correcting this classification were filed before or concurrent with the filing of the

Protest.” Id. FD Sales further claims that the “PSCs were submitted to correct

classifications, identify the relevant Section 301 exclusion, and remove the calculation

for these Section 301 duties on articles classified under subheading 3918.10.10.” Id. at 6.



                                              5
      Case 1:21-cv-00224-JAR Document 21             Filed 11/19/21     Page 10 of 16




FD Sales explains that “certain PSCs filed by Plaintiff may have caused some confusion

in the processing of refunds by CBP.” Id. FD Sales notes that with respect to the entries

on which CBP issued partial refunds, “[t]he entry lines for which CBP did not issue a

refund in these partially-refunded entries appear to involve the submission of these

PSCs.” Id. FD Sales also believes that Section 301 duties were paid on those entries at

the time of filing of the entries, but were not reflected in the PSCs. Id. As a result, FD

Sales alleges that “CBP mistakenly overlooked them and failed to remit refunds of the

Section 301 duties previously paid at time of entry and filing of the original Form 7501.”

Id.

         Based on these myriad and irrelevant allegations, it appears that FD Sales filed

PSCs on some of the entries covered by its protest in which some of the merchandise was

initially classified under subheading 3918.10.20, HTSUS. CBP granted some, but not all,

of FD Sales’s PSCs, and some of the clicking/locking vinyl flooring was reclassified

under subheading 3918.10.10, HTSUS, resulting in refunds of Section 301 duties to FD

Sales.

         There are two possible reasons that some PSCs were rejected by CBP. First, FD

Sales may have failed to submit the supporting documentation necessary to justify the

reclassification of the merchandise covered by certain entries from subheading

3918.10.20 to subheading 3918.10.10, HTSUS. Second, FD Sales’s PSCs may have been

filed too late. According to FD Sales, some of its PSCs were filed before or concurrent

with the filing of the protest. Pl.’s Mem. at 5. Such PSCs would be denied automatically

by ACE as untimely. “PSC filers can submit [PSCs] within 300 days from the date of

entry and up to 15 days of the scheduled liquidation date, whichever date is earlier. If




                                              6
    Case 1:21-cv-00224-JAR Document 21               Filed 11/19/21      Page 11 of 16




PSCs are filed outside the specified timeframes, ACE will automatically reject it.” See

https://www.cbp.gov/trade/programs-administration/entry-summary/post-summary-

correction.

       In any event, the reason that CBP may have denied some of FD Sales’s PSCs is

irrelevant for purposes of this action. Once the merchandise was classified at liquidation

under subheading 3918.10.20, HTSUS, FD Sales could not challenge CBP’s actions on

the PSCs, and its only remedy was to protest the classification of the merchandise at

liquidation, claim that it should be classified under subheading 3918.10.10, HTSUS, and

subject to an exclusion from Section 301 duties. FD Sales’s failure to protest the

classification of the merchandise at liquidation under subheading 3918.10.20, HTSUS,

makes the liquidation of the entries final and conclusive with respect to that merchandise

and deprives the Court of jurisdiction to review the classification of the merchandise and

imposition of Section 301 duties in this action. 19 U.S.C. § 1514(a) provides that

“liquidation or reliquidation, and, decisions of [CBP], including the legality of all orders

and findings entering into the same, … shall be final and conclusive upon all persons

(including the United States and any officer thereof) unless a protest is filed in

accordance with this section….”

       “[L]iquidation is long honored in customs procedure as the final reckoning of an

importer’s liability on an entry.” Travenol Laboratories, Inc. v. United States, 118 F.3d

749, 752-753 (Fed. Cir. 1997), citing Farrell Lines, Inc. v. United States, 667 F.2d 1017,

1020 (CCPA 1982). “[A]ll decisions of the collector involved in the ascertaining and

fixing the rate and amount of duties chargeable against imported merchandise entered for

consumption are merged in and become a part of a legal liquidation, and it is a legal




                                              7
       Case 1:21-cv-00224-JAR Document 21             Filed 11/19/21     Page 12 of 16




liquidation only … against which a protest will lie.” Dow Chemical Co. v. United States,

10 CIT 550, 557, 647 F. Supp. 1574 (1986), quoting Dart Export Corporation v. United

States, 43 CCPA 64, 73, C.A.D. 610 (1956), cert. denied, 352 U.S. 824 (1956). Based on

its terms and as interpreted by the courts, 19 U.S.C. § 1514 provides a unified procedure

for challenging all aspects of a liquidation, including the legality of any orders or findings

involved in the administrative process. See Ataka America, Inc. v. United States, 17 CIT

598, 606, 826 F. Supp. 495, 502 (1993) (“Where an action by Customs … merges into

liquidation, the action must be protested to avoid finality.”).

         Thus, notwithstanding CBP’s reasons for rejecting the PSCs, based on the statute

and judicial precedent, CBP’s decisions on the PSCs merged in and became part of

liquidation. If FD Sales wanted to challenge the classification of its merchandise under

subheading 3918.10.20, HTSUS, and the applicability of Section 301 duties, it had to do

so by protesting the classification of such merchandise at liquidation. FD Sales’s failure

to protest the classification of the merchandise under subheading 3918.10.20, HTSUS, at

liquidation made the liquidation final and conclusive and precluded it from claiming

Section 301 duty refunds on that merchandise in this court action. Thus, the Court lacks

jurisdiction over FD Sales’s claims with respect to the merchandise classified at

liquidation under subheading 3918.10.20, HTSUS, because such claims were not

included in the protest.

III.     The Court Lacks Jurisdiction Over Entries Withdrawn From FD Sales’s
         Protest

         Finally, the Court lacks jurisdiction over the untimely summonsed entries that

were withdrawn from FD Sales’s administrative protest. FD Sales disputes the

Government’s argument that the Court lacks jurisdiction under 28 U.S.C. § 1581(a) over



                                              8
    Case 1:21-cv-00224-JAR Document 21                Filed 11/19/21     Page 13 of 16




eleven summonsed entries that were withdrawn from its protest. In fact, twelve entries

were withdrawn from FD Sales’s protest, but only eleven of the twelve were summonsed.

Decl. of Penny Williams, ¶ 10, n.2 (Exh. 1). FD Sales counters that “neither Plaintiff nor

anyone acting on Plaintiff’s behalf ever withdrew any entry from the Protest.” Pl.’s

Mem. at 5.

       FD Sales is incorrect because CBP cannot “withdraw” entries from a protest.

Decl. of Penny Williams, ¶¶ 7-8. CBP’s role with respect to protests is to review,

analyze, and approve or deny protests, in full or in part. Id., ¶ 7. CBP is not permitted

and does not have the functionality in ACE to add or withdraw entries from protests. Id.

The feature in ACE that allows withdrawal of entries from protests is accessible only to

protest filers and, if and when the filer withdraws entries from a protest, CBP can access

a read-only view of the entries covered by the protest, which contains a column showing

the status of the entries indicating whether any were withdrawn. Id., ¶¶ 5 and 8;

Protested Entries (Exh. 2).

       From a procedural perspective, CBP’s read-only access to entry withdrawals is

logical because it is up to the filer to decide which entries should be included in its

protest, and it is then up to CBP to decide whether the entries were properly and timely

protested. CBP can deny a protest if it was untimely or premature with respect to the

liquidation of a certain entry, but it cannot and should not be able to withdraw an entry

from a protest.

       In this case, it appears that six of the eleven withdrawn entries were covered by

other protests, which potentially explains why FD Sales or its agent decided to withdraw

the entries. As FD Sales notes, CBP issued a refund for one of the entries withdrawn




                                              9
   Case 1:21-cv-00224-JAR Document 21               Filed 11/19/21     Page 14 of 16




from the protest, entry no. 442-7917642-2, but that refund was granted because the

HTSUS code was subject to an approved exclusion. See Pl.’s Mem. at 2, n.2. Regardless

of FD Sales’s or its agent’s reason for withdrawing entries from the protest, the Court

lacks section 1581(a) jurisdiction over entries that were withdrawn, and therefore not

covered by the protest.




                                            10
   Case 1:21-cv-00224-JAR Document 21             Filed 11/19/21      Page 15 of 16




                                   CONCLUSION

       For the foregoing reasons and those in our moving papers, this Court should grant

the Government’s motion to dismiss.

                                            Respectfully submitted,

                                            BRIAN M. BOYNTON
                                            Acting Assistant Attorney General

                                            PATRICIA M. McCARTHY
                                            Director

                                            JUSTIN R. MILLER
                                            Attorney in Charge
                                            International Trade Field Office

                                            /s/ Aimee Lee
                                            AIMEE LEE
                                            Assistant Director

                                            /s/ Guy R. Eddon
                                            GUY R. EDDON
                                            Trial Attorney
                                            Department of Justice, Civil Division
                                            Commercial Litigation Branch
                                            26 Federal Plaza, Room 346
                                            New York, New York 10278
                                            (212) 264-9232 or 9230
                                            Attorneys for Defendant
Of Counsel:
Valerie M. Kruger
Yelena Slepak
Office of the Assistant Chief Counsel
International Trade Litigation
U.S. Customs and Border Protection

Dated: November 19, 2021




                                          11
       Case 1:21-cv-00224-JAR Document 21              Filed 11/19/21    Page 16 of 16




                            CERTIFICATE OF COMPLIANCE

       I, Guy Eddon, an attorney in the Office of the Assistant Attorney General, Civil Division,

Commercial Litigation Branch, International Trade Field Office, who is responsible for the

Government’s reply memorandum in further support of defendant’s motion to dismiss, dated

November 19, 2021, relying upon the word count feature of the word processing program used to

prepare the memorandum, certify that this memorandum complies with the word count limitation

under the Court’s chambers procedures, and contains 2,635 words.


                                                    /s/ Guy Eddon
